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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF NORTH DAKOTA
UNITED STATES OF AMERICA                )
                                        )     REPORT AND RECOMMENDATION
             V.                         )
                                        )          CASE NO. 2:07-cr-35-03
MARTIN WHITETAIL, JR.                   )

       At an August 12, 2011 hearing, Martin Whitetail, Jr. admitted

that he had violated conditions of supervised release. He does not

contest revocation of his release.            The parties’ positions differ

only    on   the   appropriate    length      of    a   term   of   custody       upon

revocation.        This Court recommends that Whitetail’s supervised

release be revoked, and that he be ordered to serve eight months in

custody.

       The petition was filed October 29, 2010 (Doc. 85), and was

referred to this Court for hearing and for preparation of this

Report and Recommendation (Doc. 173).

                                     FACTS

       In 2007, Whitetail was sentenced to a prison term of 16

months, followed by three years of supervised release, after he

pled guilty to an assault charge.            Whitetail began his supervised

release term on October 3, 2008.            Whitetail is 26 years old, has a

tenth grade education, and has been employed only sporadically.

       Throughout his term of supervised release, Whitetail has

struggled     with    alcohol     and   drug       issues.      His    supervised

release term is marked by guilty pleas to several tribal


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charges - public intoxication, violence to a police officer,

domestic abuse, reckless endangerment, and escape - all of

which resulted from alcohol use.                 In addition to time in

custody,       tribal      sentences        required         that          Whitetail

participate in alcohol treatment, but he did not follow those

requirements consistently.

       In September 2010, Whitetail’s conditions of supervision

were    modified,     requiring   that      he   reside    at      a    residential

reentry center for up to six months (Doc. 83).                         He began his

placement at Centre, Inc., in Mandan on September 10, 2010.                          He

had a chemical dependency evaluation in mid-October.                        Although

the    evaluator    recommended       intensive     out-patient          treatment,

there was not an immediate opening to begin that treatment.                          It

appears that Whitetail absconded from the Centre placement

before the out-patient treatment could begin.

       Whitetail admitted at the hearing that he absconded from

Centre on October 27, 2010.              Whitetail stated that he left

Centre because of concern that his two young children, who live

in Fort Totten, were not being cared for properly.                         He stated

that    he   worked     about   two    months     near     New     Town,       laying

underground pipe, but that he was otherwise on the Spirit Lake

Reservation from October 2010 until his tribal arrest in early

July 2011.      Whitetail’s July arrest was on a tribal charge of

public intoxication.        On July 29, 2011, he completed his tribal


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sentence, and came into federal custody as a result of this

petition.      Whitetail      did       not    contest    detention      pending   a

decision on the petition.           (Doc. No. 156).

                      GUIDELINES POLICY STATEMENTS

    At the time he was sentenced, Whitetail was in Criminal

History Category II.        The violation of supervised release is of

Grade   C.   Under    those      circumstances,      the    guidelines       policy

statements suggest a term of custody of four to ten months, if

supervision is revoked.

                   PARTIES’ POSITIONS ON DISPOSITION

    The United States asks that Whitetail’s supervision be

revoked, and that he be sentenced “on the high end” of the

guidelines, with no additional term of supervised release.

Whitetail    seeks    a    term    of    six    months,    with     no   additional

supervised release, and asks that a recommendation be made for

placement at Lake Region Law Enforcement Center.

                                   DISCUSSION

    The supervising probation officer calculated that Whitetail

has been either in tribal custody or on absconder status for

approximately 20 of the 34 months he has been on supervised

release.     Although Whitetail has been given opportunities to

participate in alcohol treatment during his term of release,

Whitetail    has     not   yet    been    ready    to     take    that   treatment

seriously.


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    Whitetail acknowledged that he violated conditions of his

supervised release, and personally expressed regret for his

actions.    He asks that his gainful employment during some of

the time he was not in contact be considered, along with his

minimal criminal activity during that time.

    Whitetail’s     compliance     with     conditions        of   supervised

release    has   been   minimal.    Though     he   was   likely      on     the

reservation most of the time he was in “absconder status,” he

made no effort to contact the probation office.                His statement

that he left Centre because of concern for his children’s

welfare is inconsistent with his statement that he spent some

of time working in New Town.            This Court does not question

Whitetail’s sincere desire to properly care for his children,

but that motivation does not excuse his lack of compliance with

conditions of release.

    Given his meager efforts to comply with conditions, and the

parties’ positions that no additional supervised release should

be ordered, a term of custody near the top of the guidelines

range appears appropriate.

                             RECOMMENDATION

    This Court recommends that the district judge find that

Whitetail violated conditions of supervised release, that his

supervised release be revoked, and that he be ordered to serve

eight months in custody.      This Court further recommends that no


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additional    term   of   supervised    release     be       ordered   after

completion of the term of custody.          In order that he may be

closer to his family, his request that his time be served at

Lake Region Law Enforcement Center is appropriate.

                     OPPORTUNITY FOR OBJECTIONS

    Pursuant to local rule, the parties may object to this

Court’s recommendation.       In the event there is no objection,

counsel is asked to advise the district judge, so that an order

can be considered prior to the end of the period allowed for

objections.

    Dated this 22nd day of August, 2011.



                                       /s/ Alice R. Senechal
                                       Alice R. Senechal
                                       U.S. Magistrate Judge




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